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                          EXHIBIT T
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 9:19-cv-81160-RS




     APPLE INC.,


                          Plaintiff,


               v.


     CORELLIUM, LLC,


                        Defendant.



                  DECLARATION OF JESSICA STEBBINS BINA
       IN SUPPORT OF PLAINTIFF APPLE INC.’S RESPONSE TO DEFENDANT’S
         MOTION TO COMPEL INFORMATION REGARDING COMPETITIVE
    TECHNOLOGY OR, IN THE ALTERNATIVE, TO EXCLUDE SUCH INFORMATION

             1. My name is Jessica Stebbins Bina. I am over the age of 18. I have personal knowledge

   of the facts contained herein, which are true and correct. If called as a witness, I could competently

   testify to these statements.

             2. I am a partner at Latham & Watkins LLP and counsel for Apple Inc. (“Apple”) in this

   matter.

             3. On April 7, 2020, I attended and defended Corellium LLC’s (“Corellium”) deposition

   of Jon Andrews, who Apple designated to testify pursuant to Federal Rule of Civil Procedure

   30(b)(6).

             4. During Mr. Andrews’ deposition,




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            5. On April 16, 2020, I attended and defended Corellium’s deposition of Apple employee

   Donald Matthew Firlik.

            6. During Mr. Firlik’s deposition,




            7. On redirect,

            8. Mr. Firlik’s deposition had been agreed in advance to take place over four hours, from

   8 a.m. to 12 p.m. After my redirect ended, Corellium’s counsel wished to further examine Mr.

   Firlik                             . Corellium’s counsel had 20 minutes left in the time allotted

   for the deposition.

            9. After counsel for Corellium and I discussed Corellium’s request to ask further

   questions, we agreed to extend Mr. Firlik’s deposition and defer a deposition that had been

   scheduled to begin at 12:30 to 1:30 so that Mr. Firlik’s time could be extended. Counsel for

   Corellium spent several minutes

                               However, he did not take the full time offered, instead closing the

   deposition at approximately 12:50 p.m.



   Executed on April 23, 2020
   in Culver City, CA                                   Jessica Stebbins Bina




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